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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND


BRANDON HARRIS,                                  *

               Petitioner                        *       CIVIL ACTION NO. JKB-14-0086

       v.                                        *       CRIMINAL NO. JKB-12-0348

UNITED STATES OF AMERICA,                        *

               Respondent                        *
        *      *     *    *           *      *       *      *       *       *       *      *

                                          MEMORANDUM

       The Court has carefully reviewed Mr. Harris’s MOTION TO VACATE, SET ASIDE,

OR CORRECT SENTENCE (ECF No. 185) as well as the Government’s RESPONSE IN

OPPOSITION (ECF No. 196). Mr. Harris did not file a reply.

       The Court will deny the Motion.        A thorough review of Mr. Harris’s Motion, the

Government’s Response, and, most importantly, the record in this case reveal that the defendant

was not deprived of the effective assistance of counsel. From the record, there is no basis for

concluding that counsel failed to raise a valid defense. There is no basis for concluding that the

defendant was subject to an impermissible or unlawful prosecutorial strategy. The colloquy at

the time of the guilty plea reveals that the defendant was fully informed, that he acted

voluntarily, and that he was fully satisfied with the representation of his attorney. Mr. Harris

received effective assistance from his counsel during plea bargaining. His entrapment claim is

without merit for the reasons set out in the Government’s Memorandum (see ECF No. 196). He

has proffered insufficient grounds to support his contention of a violation of his equal protection

and/or his due process rights.
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       For the foregoing reasons, defendant’s MOTION TO VACATE, SET ASIDE, OR

CORRECT SENTENCE shall be DENIED. A separate order shall follow.



 Dated this 4th day of August, 2014.



                                           BY THE COURT:



                                                          /s/
                                           James K. Bredar
                                           United States District Judge
